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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                      AT LOUISVILLE

UNITED STATES OF AMERICA                                                                 PLAINTIFF


v.                                                     CRIMINAL ACTION NO. 3:23-CR-55-DJH


JOHN ANTHONY SCHMIDT                                                                   DEFENDANT


                       AGREED MOTION FOR PROTECTIVE ORDER
                                 Filed Electronically

         The United States of America, by counsel, moves the Court, pursuant to Rule 16(d)(1) of

the Federal Rules of Criminal Procedure, for entry of a Protective Order governing the use and

disclosure of certain information included in the discovery materials provided by the government

to counsel for the defendant, John Anthony Schmidt. The purpose of this Motion is to facilitate

the expeditious exchange of discovery between the parties and to protect personal information.

Counsel for the government has conferred with counsel for the defendant, John Anthony Schmidt,

and has been authorized to represent to the Court that the defendant agrees to the entry of the

proposed protective order.

         Fed. R. Crim. P. 16(d)(1) authorizes the court to regulate discovery. In part, the Rule reads,

“[a]t any time the court may, for good cause, deny, restrict, or defer discovery or inspection, or

grant other appropriate relief.” This Motion does not request that this Court deny or defer

discovery.    Rather, this Motion requests that the use and dissemination of certain documents,

records, and information be restricted.

         In this case, defendant John Anthony Schmidt is charged in a three-count indictment

involving wire fraud and bank fraud. Discoverable documents and records contain personally
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identifying information, financial account numbers, and other personal or business information of

persons or entities. These documents would require significant redactions before they could be

made available to defense counsel without a protective order, and such redactions would render

certain of the documents unhelpful to the defense review given the nature of the charges in this

case. For that reason, the United States respectfully requests the Court enter the tendered

Protective Order restricting the use and dissemination of personal information included in the

discovery materials to those persons who are within the identifiable defense and prosecution

groups, court personnel, and only for the use in this case.

                                                      Respectfully submitted,

                                                      MICHAEL A. BENNETT
                                                      United States Attorney

                                                      s/ Stephanie M. Zimdahl
                                                      Stephanie M. Zimdahl
                                                      Assistant United States Attorney
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 17, 2023, I electronically filed the foregoing document with
the clerk of the court by using the CM/ECF system, which will send a notice of electronic filing
to the following:

       Rob Eggert, counsel for John Anthony Schmidt

                                                      s/ Stephanie M. Zimdahl
                                                      Stephanie M. Zimdahl
                                                      Assistant United States Attorney




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